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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CBV, INC.,                                       )
                                                  )
               Plaintiff/Counterclaim-            )
               Defendant,                         )
                                                  ) C.A. No. 21-1456-GBW
                v.                                )
                                                  )
 CHANBOND, LLC,                                   )
                                                  )
                Defendant/Crossclaim-             )
                Defendant/Crossclaim-             )
                Plaintiff,                        )
                                                  )
 DEIRDRE LEANE and IPNAV, LLC                     )
                                                  )
                Defendants/Counterclaim-          )
                Plaintiffs/Crossclaim-
                Plaintiffs.


               CHANBOND, LLC, DEIRDRE LEANE, AND IPNAV, LLC’S JOINT
            OPPOSITION TO THE MOTION FOR ADMISSION PRO HAC VICE
                       OF STEVEN LEWIS RADER, ESQUIRE

       Defendants ChanBond, LLC (“ChanBond”), Deirdre Leane (“Leane”), and IPNAV, LLC

(“IPNAV,” and collectively with Leane, the “Leane Defendants”) by and through their

undersigned counsel, respectfully oppose the Motion for Admission Pro Hac Vice filed (the

“Motion”) on behalf of Steven Lewis Rader, Esquire on Saturday, October 8, 2022. (D.I. 153.)

For the reasons set forth below, the Court should deny the Motion.

       1.      Hoping he could take advantage of a judicial reassignment and an after-hours filing

on the Saturday of a holiday weekend, Mr. Rader caused to be filed a pro forma Motion, seeking

admission to this Court pro hac vice on behalf of third-party intervenors Gregory Collins and

Kamal Kian (the “Proposed Intervenors”). (Id.)




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       2.      Notably absent from the Motion is any disclosure to the Court that Mr. Rader was

already admitted pro hac vice on behalf of these same parties, in this same matter, and voluntarily

withdrew his admission, rather than appear at a Court-ordered hearing to explain to Judge Noreika

his numerous and repeated violations of the several Court orders in this action. The Court should

deny the Motion, award against Mr. Rader and his firm ChanBond and Leane Defendants’

attorneys’ fees and costs incurred in responding to this Motion, and refer Mr. Rader to the Office

of Disciplinary Counsel for review of his conduct.1

                                 FACTUAL BACKGROUND

       3.      On March 21, 2022, Mr. Rader caused his then-Delaware counsel, John Williams

and Brian Crawford of the Williams Law Firm, P.A., to file a motion for admission pro hac vice

on behalf of the Proposed Intervenors (D.I. 35), who moved to Intervene in this action earlier that

day (the “Motion to Intervene”). (D.I. 34.) Although Mr. Rader did not comply with Local Rule

7.1.1 which caused the Court to threaten to deny the Motion to Intervene (see Mar. 22, 2022 Oral

Order), the Court granted Mr. Rader’s admission pro hac vice. (See Mar. 22, 2022 Docket Order.)

       4.      To comply with the Court’s order, Mr. Rader participated in a meet and confer with

counsel for ChanBond in which he was argumentative, uncivil, refused to explain the bases for the

Motion to Intervene, and hung up on ChanBond’s counsel. (D.I. 76 at 1 n.7.)




1
  ChanBond and the Leane Defendants do not seek relief against the Delaware counsel who signed
the Motion. ChanBond and the Leane Defendants note, however, that Mr. Rader seems to engage
Delaware counsel who are either unwilling or unable to serve as any check on his conduct, which
further counsels against his second pro hac vice admission in this case. See, e.g., Accenture Glob.
Servs., GmbH v. Guidewire Software, Inc., 800 F. Supp. 2d 613, 622 n.4 (D. Del. 2011), aff'd, 728
F.3d 1336 (Fed. Cir. 2013) (“It is of no assistance to the court to have Delaware counsel, if they
misapprehend (or choose to ignore) their role under the Local Rules.”).



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       5.      On April 5, 2022, Mr. Rader attempted to use a copy of ChanBond’s [Sealed]

Answering Brief in Opposition to Plaintiff CBV, Inc.’s Motion for Temporary Restraining Order,

Preliminary Injunction and for Expedited Discovery (D.I. 54), which was filed under seal pursuant

to the Court’s March 22, 2022 order (the “Sealing Order”), with which he was inadvertently served.

(D.I. 39.) ChanBond promptly requested to claw back the confidential information it had

inadvertently served upon Mr. Rader, but Mr. Rader did not respond to that request. (D.I. 59, Ex.

A). During a meet and confer held that same day, Mr. Rader refused to return ChanBond’s

confidential information, agree to comply with the Sealing Order, or even to disclose whether he

had disseminated the inadvertently disclosed information to his non-party clients, third parties, or

otherwise distributed the Confidential Filing in violation of the Sealing Order and District of

Delaware Local Rule 26.2 before rudely hanging up on counsel for ChanBond and the Leane

Defendants.2 (See, e.g., D.I. 59 at 2.)

       6.      Unable to secure Mr. Rader’s cooperation with Court orders and the Local Rules,

and without any other options to protect its confidential information, ChanBond sought emergency

relief from the Court on April 5, 2022. (D.I. 59.) The next morning, Mr. Rader sought until

Thursday, April 7, 2022 at 1:00 p.m. to respond to ChanBond’s emergency filing. (D.I. 60.) The

Court denied Mr. Rader’s request, ordered him to respond by 2:30 p.m. that day, and further

ordered Mr. Rader to “return all copies of the confidential filing and . . . immediately cease

disseminating copies of the confidential filing pending further order of this Court.” (D.I. 61.)

       7.      Mr. Rader responded as directed and admitted to violating the Court’s rules and

orders but challenged whether such orders were valid and the well understood meaning of the



2
  Counsel for Plaintiff CBV, Inc. also participated in the meet and confer. ChanBond and the
Leane Defendants understand that CBV’s counsel concur in this description of Mr. Rader’s
conduct during the meet and confer.


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Court’s rules. (D.I. 63.) The Court reviewed the parties’ letters and, on April 6, 2022, scheduled

a hearing on April 25, 2022 at 4:30 p.m. (the “April 25 Hearing”) and ordered that, “[u]ntil that

hearing, the non-parties shall not retain or disseminate the confidential filings and shall endeavor

to retract information they already have disseminated.” (D.I. 64.)

       8.      On April 11, 2022, ChanBond and the Leane Defendants filed oppositions to the

Motion to Intervene. (D.I. 73, 76.) Relying on declarations from Mr. Rader, Proposed Intervenors

filed their replies on April 22, 2022, and the Motion to Intervene remains pending a decision from

the Court. (D.I. 87, 88.)

       9.      On April 14, 2022, Mr. Rader filed a motion for permission to appear at the April 25

Hearing remotely (the “Motion to Appear Remotely”). (D.I. 82.) After confirming that Mr. Rader

did not have any medical or personal reason that would justify his remote appearance, ChanBond

opposed the Motion. (Id.) Before ChanBond’s opposition was due, the Court denied the Motion

to Appear Remotely. (D.I. 84.)

       10.     Notwithstanding the Court’s order, Mr. Rader did not appear at the April 25

Hearing. The Court found that Mr. Rader violated the Court’s rules and orders and invited

ChanBond to submit additional briefing concerning the appropriate sanctions against Mr. Rader,

his firm, and the Non-Parties. ChanBond submitted the requested letter on April 26, 2022, which

sought to revoke Mr. Rader’s pro hac vice admission. (D.I. 90.)3 Mr. Rader responded to the

sanctions letters on April 27, 2022, once again filing on the public docket information he knew or

should have known was protected by Court order.4 (D.I. 94.) Rather than waiting for the Court’s




3
 The Leane Defendants also submitted a letter in support of sanctions. (D.I. 92.)
4
 Mr. Rader’s then-Delaware counsel cooperated in promptly placing these materials under seal.
(D.I. 94.)


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decision, Mr. Rader withdrew his pro hac vice appearance on April 27, 2022. (D.I. 95.) The

requests for sanctions against Mr. Rader and the Non-Parties remain pending before the Court.

       11.       On September 7, 2022, this matter was reassigned from Judge Noreika to the

Honorable Gregory B. Williams. (See Sept. 7, 2022 Docket Entry.) Apparently believing a new

judicial officer would ignore his past indiscretions and hoping to slide his Motion under the radar,

Mr. Rader filed the Motion a month later over a holiday weekend. (D.I. 153.) Notably absent

from the pro forma Motion was any recitation of Mr. Rader’s conduct during his prior pro hac

admission or any explanation about why the Court should grant his Motion notwithstanding his

prior actions and in the face of a pending motion to revoke his pro hac vice admission and request

for sanctions.

                                          ARGUMENT

       12.       Pursuant to District of Delaware Local Rule 83.5(c), the decision to admit out of

state counsel pro hac vice rests in the discretion of the Court.           D. DEL. L.R. 83.5(c).

“Admission pro hac vice ‘is not a right but a privilege, the granting of which rests in the sound

discretion of the presiding judge.’” United States v. Gutierrez, No. 94 Cr. 565(LAK), 1994 WL

593773, at *2 (S.D.N.Y. Oct. 28, 1994) (quoting Thomas v. Cassidy, 249 F.2d 91, 92 (4th Cir.

1957)); see also Leis v. Flynt, 439 U.S. 438, 441–42, 99 S. Ct. 698, 700–01, 58 L.Ed.2d 717

(1979); In re Rappaport, 558 F.2d 87, 89 (2d Cir. 1977); Panzardi–Alvarez v. United States, 879

F.2d 975 (1st Cir. 1989); Thoma v. A.H. Robins Co., 100 F.R.D. 344, 347–49 (D.N.J. 1983). In

determining whether to deny a pro hac vice motion, the Court should balance a litigant’s right to

choose its counsel with the Court’s the attorney applicant’s familiarity “with the Federal Rules of

Civil Procedure, the Local Rules . . ., this Court’s Individual Rules, and the customs and practices

of this Court” and the Court’s confidence that the attorney will conduct himself professionally and




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ethically and will not disrupt the proper functioning of the Court. Erbacci, Cerone, and Moriarty,

Ltd. v. United States, 923 F. Supp. 482, 486 (S.D.N.Y. 1996).

       13.     Although pro hac vice motions are routinely granted, it is not a pro forma exercise,

and such applications are appropriately rejected in rare circumstances. See Sedona Corp. v.

Ladenburg Thalmann & Co., No. 03-CIV-3120 (KMW) (THK), 2003 WL 22339357, at *3

(S.D.N.Y. Oct. 14, 2003) citing Rappaport, 558 F.2d at 89–90 (denying writ of mandamus where

district court barred attorney from pro hac vice admission because attorney was indicted for

obstruction of justice and giving false and invasive testimony before a grand jury, pled guilty to

criminal contempt, and had been suspended from the practice of law for forty-five days for bilking

a client out of $35,000); Macdraw, Inc. v. The CIT Group Equip. Fin., Inc., 994 F. Supp. 447, 455

(S.D.N.Y. 1997) (revoking pro hac vice admissions of attorneys who engaged in conduct which

was undignified, disrespectful and degrading to the court); Erbacci, 923 F. Supp. at 486

(denying pro hac vice admission where an attorney twice submitted defective applications, and in

doing so engaged in motion practice without being admitted to practice in the

court); Gutierrez, 1994 WL 593773, at *2-3 (denying pro hac vice admission where attorney

failed to file motions that were in his client’s interest, ignored scheduling orders, and was late for

court appearances). This is one of the rare circumstances that justifies denying Mr. Rader’s pro

hac vice admission to practice before this Court.

       14.     Mr. Rader has confirmed, both through his initial conduct in this action and his

failure to disclose his prior misconduct in connection with the Motion, that he should not have the

privilege of practicing before this Court. See, e.g., In re Poliquin, 49 A.3d 1115, 1133 (Del.

2012), reinstatement granted sub nom. Matter of Member of the Bar Poliquin, 135 A.3d 1282 (Del.

2016) (recognizing that an attorney’s failure to disclose prior misconduct violated his duty of




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candor to the tribunal and Rules 3.3(a)(1), 8.4(c), and 8.4(d) of the Delaware Lawyer’s Rules of

Professional Conduct). As detailed above, Mr. Rader violated at least the Court’s Sealing Order,

the Court’s two April 6, 2022 orders, the Court’s April 14, 2022 order denying his request to appear

at the April 25 Hearing remotely, and Local Rule 26.2.

          15.   Mr. Rader has demonstrated that after causing unquantifiable damage and

disruption, when the Court attempts to hold him accountable for his actions he will run away rather

than appear and defend his conduct. (See, e.g., D.I. 95.) And since he voluntarily withdrew his

prior appearance, in a misguided attempt to avoid a sanctions motion that remains pending, the

concerns about impairing the Non-Parties’ ability to select their own counsel is not implicated by

the Motion.

          16.   Mr. Rader’s limited prior appearance in Delaware was riddled with undignified and

disrespectful conduct that disrupted the proceedings in this action and violated numerous Court

orders and the District’s Local Rules. While Mr. Rader’s past conduct alone is sufficient to justify

denial of the Motion, his temerity to seek readmission, one month after the reassignment of this

matter to a new judicial officer, over a holiday weekend, using a pro forma Motion, while a motion

to revoke his prior pro hac vice remained pending before the Court, without attempting to explain

or apologize for the conduct that caused him to withdraw his prior pro hac vice appearance in the

first instance, further confirms that the Court should deny Mr. Rader’s Motion, award ChanBond

and the Leane Defendants the attorneys’ fees and costs they incurred in opposing the Motion, and

refer Mr. Rader to the Office of Disciplinary Counsel to prevent such further misconduct in the

future.




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                                       CONCLUSION

       17.    For the foregoing reasons, the Court should deny the Motion, award ChanBond and

Leane Defendants the attorneys’ fees and costs in opposing the Motion and refer Mr. Rader to the

Office of Disciplinary Counsel.


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